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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

G.J., a minor, ESTATE OF
LOGAN JOHNSRUD and ERIK
JOHNSRUD,

                           Plaintiffs and
                           Crossclaim Defendants,                   ORDER

NORTH CENTRAL STATES REGIONAL                                     20-cv-108-wmc
COUNCIL OF CARPENTERS HEALTH FUND,

                           Involuntary Plaintiff
                           and Cross-Claimant,

      v.

WOOD COUNTY and NATHAN DEAN,

                           Defendants.

      The court held a telephonic hearing on plaintiffs’ motion to enforce settlement and

related motions by interested party and former Special Administrator of the Estate of

Logan Johnsrud Egypt Bostic. Plaintiffs Gabriel Johnsrud, the Estate of Logan Johnsrud

and Erik Johnsrud appeared by counsel and Erik Johnsrud also appeared personally; Egypt

Bostic appeared personally; and defendants appeared personally. For the reasons described

on the record, the court resolved all pending motions. Accordingly, IT IS ORDERED that:

      1) Plaintiffs’ motion to enforce settlement agreement (dkt. #95) is GRANTED.

      2) Plaintiffs’ motion to withdraw as counsel for Egypt Bostic in her role as Special
         Administrator of the Estate and mother to plaintiff Gabriel Johnsrud (dkt. #94)
         is DENIED AS MOOT.

      3) Interested parties Egypt Bostic and Nicole Marie Hansen’s various motions (dkt.
         ##101, 103, 104) are DENIED FOR LACK OF STANDING.
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4) The clerk’s office is directed to disperse the funds received from defendant Wood
   County as listed below. Any accrued interest should be paid to the Estate of
   Logan Johnsrud. The court will provide the addresses and other pertinent
   information separately.
       • $1,235,481.35 to the Estate of Logan Johnsrud
       • $150,000 to Erik Johnsrud
       • $3,272.81to the Department of Veterans Affairs
       • $961,245.84 to Gingras, Thomsen and Wachs LLP

5) In light of this settlement, this case is hereby DISMISSED WITH PREJUDICE
   AND WITHOUT COSTS.

Entered this 27th day of September, 2021.

                                  BY THE COURT:


                                  /s/
                                  __________________________________
                                  WILLIAM M. CONLEY
                                  District Judge




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